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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF OREGON
                              EUGENE DIVISION

Elizabeth HUNTER; et al.,
                                                            Case No. 6:21-cv-00474-AA
                            Plaintiffs,
                                                            DECLARATION OF PAUL
                                    v.                      CARLOS SOUTHWICK
                                                            ISO RESPONSE TO
DEPARTMENT OF EDUCATION; and Catherine                      INTERVENOR-
LHAMON, in her official capacity as Assistant Secretary     DEFENDANT CCCU’S
for the Office of Civil Rights, U.S. Department of          NOTICE OF
Education,                                                  SUPPLEMENTAL
                                                            AUTHORITY
                            Defendants,

COUNCIL FOR CHRISTIAN COLLEGES &
UNIVERSITIES, WESTERN BAPTIST COLLEGE d/b/a
CORBAN    UNIVERSITY,   WILLIAM    JESSUP
UNIVERSITY AND PHOENIX SEMINARY,

                            Intervenor-Defendants.
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    I, Paul Carlos Southwick, declare:

    1. I am over 18 years of age and have personal knowledge of the matters stated in this

       declaration and would testify truthfully to them if called upon to do so.

    2. Attached as Exhibit A is a true and accurate copy of Amendment No. 6482 to H.R. 8404

       (Respect for Marriage Act), Title II—Religious Beliefs and Moral Convictions (proposed

       by Senator Mike Lee)).

    3. Attached as Exhibit B is a true and accurate copy of a news article entitled “Ancaster

       Redeemer University student calls for change on how education institution addresses

       LGBTQ+ students.” December 5, 2022. TheSpec.com

     4. Attached as Exhibit C is a true and accurate copy of the Brief submitted by the National

        Association of Evangelicals in Bob Jones University v. United States, 461 U.S. 574 (1983).

     5. Attached as Exhibit D is a true and accurate copy of a Gallup article and polling data

        regarding opinions on interracial marriage. Dated September 10, 2021.

        Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the foregoing is true

    and correct, and that this declaration was executed this 30th day of December, 2022.


                                               By: s/Paul Carlos Southwick
                                               Paul Carlos Southwick




2   Southwick Declaration
